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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                  8:16CR173

      vs.
                                                                   ORDER
RAUL VAZQUEZ,

                     Defendant.

       At the initial appearance of the defendant on the charges contained in the
indictment on file, the United States moved to detain the defendant without bail pending
trial on the basis that he was a flight risk and a danger to the community. At the time of
his initial appearance before the court, the defendant was in the custody of Nebraska
state authorities on state charges. Accordingly,
       IT IS ORDERED:
       The government's motion for detention of Raul Vazquez pursuant to the Bail
Reform Act is held in abeyance pending the defendant's coming into federal custody.
       IT IS FURTHER ORDERED:
       The defendant, Raul Vazquez, having received notice of his return to the custody
of Nebraska state authorities pending the disposition of this matter and having waived
an opportunity for hearing in this matter pursuant to the Interstate Agreement on
Detainers, 18 U.S.C. app § 9(2), the U.S. Marshal is authorized to return the defendant,
Raul Vazquez, to the custody of Nebraska state authorities pending the final disposition
of this matter and the U.S. Marshal for the District of Nebraska is directed to place a
detainer with the correctional officer having custody of the defendant.



       DATED this 29th day of July, 2016.

                                             BY THE COURT:

                                             s/ Thomas D. Thalken
                                             United States Magistrate Judge
